                  Case 1:20-cv-01052-TSE-IDD Document 1-2 Filed 09/09/20 Page 1 of 1 PageID# 22
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     F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                 $WWRUQH\V(If Known)

Steven J. Toll, Cohen Milstein Sellers & Toll PLLC, 1100 New York Ave.
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